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                                                                                 FILED
                        UNITED STATES COURT OF APPEALS                           FEB 13 2019

                                                                             MOLLY C. DWYER, CLERK
                                FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




   CHEAP EASY ONLINE TRAFFIC                          No.   19-55055
   SCHOOL; et al.,
                                                      D.C. No.
                  Plaintiffs-Appellants,              3:16-cv-02644-WQH-MSB
                                                      Southern District of California,
    v.                                                San Diego

   PETER L. HUNTTING & CO., INC.; et
   al.,                                               ORDER

                  Defendants-Appellees.


          Appellants’ motion to dismiss this appeal as to appellees Mike Edwards and

  Economic Group Pension Services, Inc., only (Docket Entry No. 6) is granted.

  Fed. R. App. P. 42(b). The parties shall bear their own costs and attorneys’ fees on

  appeal.

          This order served on the district court shall act as and for the mandate of this

  court as to Mike Edwards and Economic Group Pension Services, Inc., only. This

  appeal remains pending as to all other appellees.

                                                  FOR THE COURT


                                                  By: Roxane G. Ashe
                                                  Circuit Mediator

  rga/mediation
